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JAMES MURPHY, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                   No. 1:24-cv-05343




STITCH INDUSTRIES INC.,




                          STITCH INDUSTRIES INC.
                          767 S. Alameda St., Suite
                          360 Los Angeles, CA 90021




                          Dana L. Gottlieb, Esq.
                          Gottlieb & Associates PLLC
                          150 East 18th Street, Suite PHR
                          New York, NY 10003
                          (212) 228-9795




      07/16/2024                                                             /S/ V. BRAHIMI
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         Case 1:24-cv-05343-ALC        Document 5       Filed 07/16/24      Page 3 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                              :
JAMES MURPHY, ON BEHALF OF
                              :
HIMSELF AND ALL OTHER
                              :
PERSONS SIMILARLY SITUATED,
                              :                  No.: 1:24-cv-
                              :
                  Plaintiffs,
                              :                  NOTICE OF APPEARANCE
                              :
               v.
                              :
                              :
STITCH INDUSTRIES INC.,
                              :
                              :
                  Defendant.
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Notice is hereby given of the appearance of the undersigned as counsel for JAMES MURPHY,
on behalf of himself and all other persons similarly situated, in the above-entitled action. All
further notices and copies of pleadings, papers, and other material relevant to this action should
be directed to and served upon:

                     Jeffrey M. Gottlieb, Esq. (JG-7905)
                     Gottlieb & Associates PLLC
                     150 East 18th Street, Suite PHR
                     New York, NY 10003
                     Phone: (212) 228-9795
                     Fax: (212) 982-6284
                     Jeffrey@Gottlieb.legal

Dated:    New York, New York
          June __, 2024
                                                    Respectfully Submitted,

                                                    GOTTLIEB & ASSOCIATES PLLC

                                                    By: /s/ Jeffrey M. Gottlieb
                                                       Jeffrey M. Gottlieb, Esq. (JG-7905)
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JAMES MURPHY, ON BEHALF OF HIMSELF                     STITCH INDUSTRIES INC.
AND ALL OTHER PERSONS SIMILARLY SITUATED

Dana L. Gottlieb, Esq., Gottlieb & Associates PLLC
150 East 18th Street, Suite PHR, New York, NY 10003
(212) 228-9795
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JAMES MURPHY
c/o Gottlieb & Associates PLLC
150 East 18th Street, Suite PHR
New York, NY 10003, New York County



STITCH INDUSTRIES INC.
Attn: Legal Department
767 S. Alameda St., Suite 360
Los Angeles, CA 90021, Los Angeles County




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     June __, 2024   /s/ Dana L. Gottlieb, Esq.
                                                                                          05   2008
                                                                             (DG-6151)
